
Reese, J.
delivered the opinion of the court.
The slave was indicted for a felony, and acquitted. The Circuit Court, on motion made for the purpose, refused to adjudge the county of the venue, liable for the defendant’s costs. The 3d section of the act of 1819, (N. &amp; C. 679,) provides, that “jailors fees and other costs, in all such cases, shall be paid by the county in which the trial takes place.’'
At common law, costs are not recovered by the prisoner from the Government, and a statute which directs the State or county to pay costs, is to be expounded, as limited to the costs of the prosecution, unless a further intention be shown to embrace the cost of the defendant. That is not the case here. On the contrary, “jailors fees” are mentioned, and the construction, therefore, will be restricted by the ejusdem generis principle, as well as that referred to.
The slave is in the same category with the free man in that respect, and the witnesses for him are in no worse condition, than he who is a witness for an insolvent free man; a state of things, existing in fully one-half of all our prosecutions.
Let the judgment of the Circuit Court be affirmed.
